6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 1 of 13
6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 2 of 13
6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 3 of 13
6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 4 of 13
6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 5 of 13
6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 6 of 13
6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 7 of 13
6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 8 of 13
6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 9 of 13
6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 10 of 13
6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 11 of 13
6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 12 of 13
6:19-mj-00106-KEW Document 1 Filed in ED/OK on 12/09/19 Page 13 of 13
